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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                 10/20/2020


LOUIS MONTANARO,

                                            Plaintiff,                   20-CV-1563 (SN)

                          -against-                                  TELEPHONE CONFERENCE
                                                                            ORDER
THE LONG ISLAND RAILROAD COMPANY,

                                            Defendant.

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SARAH NETBURN, United States Magistrate Judge:

        A status conference in this case is scheduled for Tuesday, October 27, 2020, at 3:00 p.m.

At that time, the parties shall call (877) 402-9757 and enter access code 7938632 #.

SO ORDERED.



DATED:           October 20, 2020
                 New York, New York
